            Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 DAVID GRANATA, on behalf of himself and all               No. 3:21-cv-01657 (SVN)
 others similarly situated,

        Plaintiff,

        v.

 PRATT & WHITNEY, A DIVISION OF
 RAYTHEON TECHNOLOGIES CORP., et al.,
                                                           January 4, 2022
        Defendants.

                     DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 7(b), and with Plaintiff’s

consent, Defendants Pratt & Whitney, a division of Raytheon Technologies Corporation

(“Raytheon”), QuEST Global Services-NA, Inc. (“QuEST”), Belcan Engineering Group, LLC

and Belcan Services Group Limited Partnership (together, “Belcan”), Cyient, Inc. (“Cyient”),

Parametric Solutions, Inc. (“PSI”), and Gary Prus (collectively, “Defendants”) respectfully

submit this first motion for extension of time to respond to the Complaint filed by Plaintiff David

Granata, on behalf of himself and all others similarly situated. In support of this motion,

Defendants state as follows:

       1.       Plaintiff filed the Complaint (ECF 1) on December 14, 2021.

       2.       Plaintiff served the Complaint as follows: December 17, 2021 on Belcan, Cyient,

and QuEST; December 21, 2021 on PSI; and January 1, 2022 on Mr. Prus.

       3.       The deadline for the first served Defendants to file a responsive pleading is

January 7, 2022.

       4.       To date, at least fourteen (14) other lawsuits have been filed in this District

against some or all of the same defendants in this action. In one, the plaintiff filed a Notice of
            Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 2 of 6




Related Case listing this action as a related lawsuit to that action. Durbin v. Pratt & Whitney,

Inc., et al., No. 3:21-cv-1682 (MPS) (D. Conn.) (ECF 2). In another, the plaintiff filed a Notice

of Related Cases listing this action and seven others as related matters to that action. Cydylo v.

Agilis, et al., No. 3:21-cv-01730 (SVN) (D. Conn.) (ECF 2). In this action, Your Honor ordered

that the Plaintiff file a Notice on or before January 7, 2022 detailing whether that action is related

to Durbin, among others. Granata v. Pratt & Whitney, Inc., et al., No. 3:21-cv-1657 (SVN) (D.

Conn.) (ECF 19). All fifteen (15) matters are putative class actions following a criminal

complaint brought by the Department of Justice on December 7, 2021, which is pending before

Judge Bolden. U.S. v. Patel, 3:21-cr-00220 (VAB) (D. Conn.) (ECF 1).

       5.       Given the number of putative class actions currently pending against Defendants

and the overlapping legal and factual allegations within each, Defendants expect that one or

more consolidated or amended complaint(s) may be filed, which would supersede the currently

pending complaints including the Complaint in this action. Defendants also expect that the

Court will select interim class counsel.

       6.       Defendants respectfully request that the Court extend the time for all defendants

to answer, move, or otherwise respond to the Complaint until sixty (60) days following the date

the Complaint is served on the last defendant, or sixty (60) days following the filing of a

consolidated and/or amended complaint, whichever is later.

       7.       Defendants further respectfully request that the Court extend the time for the

parties to meet and confer in accordance with Local Rule 26(f) to conduct the parties’ planning

conference and to submit the Local Rule 26(f) report until thirty (30) and forty-five (45) days,

respectively, following the selection of interim class counsel and/or the filing of a consolidated

and/or amended complaint, whichever is earlier.


                                                  2
             Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 3 of 6




        8.       Defendants further respectfully request that the Court adjourn the parties’

deadlines set by the Order on Pretrial Deadlines (ECF 3) as the parties intend to discuss these

deadlines during the parties’ planning conference pursuant to Local Rule 26(f) and may request

modification of these deadlines in the Local Rule 26(f) Report.

        9.       Defendants further request that any relief requested herein apply to all existing

and subsequently served defendants in this action.

        10.      Good cause exists for the requested extensions because this putative class action

and other potentially related, putative class actions are in their early stages. Defendants are still

evaluating the allegations in the Complaint and require additional time to do so.

        11.      Moreover, the parties anticipate that they and the Court will need additional time

to allow for the coordination of all of these matters before one judge or otherwise as directed by

the Court. Such coordination (and likely amendments and consolidation of complaints)

ultimately will assist the Court and the parties to streamline issues and conserve judicial and

party resources. Otherwise, Defendants will be subjected to conducting at least fifteen (15)

parties’ planning conferences and attempting to prepare a uniform schedule, which will impose a

burden on multiple judges in this District to juggle potentially conflicting case management

plans, thereby creating inefficiencies and increasing the likelihood of conflicting rulings.

        12.      For all of these same reasons, in the absence of the requested extensions, the

deadlines for responding to the Complaint, conducting the parties’ planning conference, and

preparing the Local Rule 26(f) report cannot reasonably be met, despite Defendants’ diligence.

        13.      Counsel for Defendants has inquired of opposing counsel regarding Plaintiff’s

position on the requested extensions, and Plaintiff’s counsel has indicated that its client consents

to the requested relief.


                                                   3
          Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 4 of 6




        14.     This is Defendants’ first request to extend the deadlines for responding to the

Complaint, conducting the parties’ planning conference, and preparing the Local Rule 26(f)

report. Defendants anticipate filing substantially similar requests in each of the currently

pending matters (and any related cases filed thereafter) in order to allow the cases to proceed on

a similar and coordinated path. The extensions requested herein will neither cause excessive

delay in the litigation nor prejudice the parties.

        WHEREFORE, Defendants respectfully request that this Court grant this motion and

extend their and any other served defendant’s time to answer, move, or otherwise respond to the

Complaint until sixty (60) days following the date the Complaint is served on the last defendant,

or sixty (60) days following the filing of a consolidated and/or amended complaint, whichever is

later; and further extend the parties’ time to meet and confer in accordance with Local Rule 26(f)

to conduct the parties’ planning conference and to submit the Local Rule 26(f) report until thirty

(30) and forty-five (45) days, respectively, following the selection of interim class counsel and/or

the filing of a consolidated and/or amended complaint, whichever is earlier; and further adjourn

the parties’ deadlines set by the Order on Pretrial Deadlines (ECF 2) together with such other and

further relief as this Court deems just and proper.




                                                     4
        Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 5 of 6




                                        Respectfully submitted,

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                                        5
           Case 3:21-cv-01657-SVN Document 24 Filed 01/04/22 Page 6 of 6




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